Jefferson Parish Forensic Center
2018 8th Street
Harvey, LA 70058
(504) 365-9100 + (504) 365-1731 Fax

Gerry A. Cvitanovich, M.D.

Coroner

Patient: PI, Gl Case: 032-20
Address: DOB:
Destrehan, LA 70047 rans white

Sex: Male
Age: 16 years

Date of Death: On 01/19/2020

Time of Death: Approximately 14:35

Date of Exam: 01/22/2020

Time of Exam: 09:00

Tag Number: 0099748

Pathologist: Dana Troxclair, M.D.

Authorized By: Gerry Gvitanovich, M.D., Coroner Jefferson Parish

Persons in Attendance: Autopsy Assistants Shelley Lucius & Kevin Mitchell, JPCO; Dr. Lauridson (Montgomery
ALA), JPCO Forensic Pathologist Ellen Connor MD, CST Chantele Landeche, CSI Jene’
Rauch and Det. Don Meunier, JPSO

|. Excited delirium

A. Bilateral pulmonary congestion and edema (left lung 790 grams; right lung 900 grams).

B. Focal edema with extensive intra-alveolar hemorrhage microscopically.

C. Death investigative information and video footage reveals that while leaving the Laser Tag of
Metairie, the decedent became aggressive and a physical altercation with his father ensued
during which law enforcement officers responded. During the struggle, the decedent ended up
in a prone position on the ground and remained in that position while family and law
enforcement officers attempted to calm him. Despite these efforts, the decedent remained
combative, necessitating further restraint. Due to the decedent's body habitus, two pairs of
handcuffs were linked together to restrain his hands behind his back. The decedent continued
to struggle, culminating in a severe physical outburst where he pulled his restrained arms over
his head. Shortly thereafter, he became unresponsive. Initial cardiac rhythm was asystole,
and despite Advanced Cardiac Life Support measures, the cardiac rhythm remained

unchanged.
1. Abrasions and contusions on the face, trunk and extremities.
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D. Clinical history of Autistic Spectrum disorder, Behavior Disturbance Disorder, environmental
allergies and borderline hypertension.
1. Gabapentin (3.8 mog/mL), Fluoxetine (300 ng/mL), Norfluoxetine (310 ng/mL) and
Aripiprazole (260 ng/mL) detected in postmortem blood.

Il. Class Ill Obesity (Body Mass Index 46.05).

A. Cardiomegaly with for chamber enlargement and biventricular hypertrophy (See attached
Jesse Edwards Registry of Cardiovascular Disease Report).
Ill. Neuropathology with no significant findings (See attached Neuropathology Consultation Report).
IV. Invitae Arrhythmia and Cardiomyopathy Comprehensive Panel revealed variant c.19C>T (p.-Pro7Ser)
on Gene SCNSA ~ a variant of uncertain significance (See attached Report).

V. Postmortem vitreous studies:
A. Sodium 138 mmol/L (Normal: 135 - 150 mmol/L)
B. Chloride 130 mmol/L (Normal: 105 - 135 mmol/L)
C. Potassium > 20 mmol/L (Normal: < 15 mmol/L)
D. Urea Nitrogen 32 mg/dL (Normal: 8-20 mg/dL).
E. Creatinine 1.3 mg/dL (Normal: 6-1.3 mg/dL).

VI. Postmortem serum tryptase 11.5 ng/mL (Normal: <15 ng/mL).

VII. Postmortem serum IgE 98.3 kU/L (Normal: <537 kU/L).
VIII. Additional toxicology:

A. No ethanol detected in postmortem blood by Gas Chromatography.

SUMMARY

Based on investigative information, review of medical records, videos of the incident and autopsy findings, it is my
opinion that Eric Parsa, a 16-year-old male, died as a result of Excited Delirium due to an Acute Psychotic Episode
in the setting of Severe Autistic Spectrum Disorder and Disruptive Behavior Disorder. Contributing factors include
Morbid Obesity with Prone Positioning and Cardiomegaly. The manner of death is classified as Accident.

NOTE: This case was presented at Case Review Conference on June 15, 2020. All in attendance (Forensic
Pathologist Dr. M. Defatta, Forensic Pathologist Dr. E. Connor, Coroner Dr. G. Cvitanovich, Chief Deputy Coroner
Dr. C. Eckert, Deputy Coroner Dr. G. Morse, Chief Death Investigator M. Bone, and Death Investigator T. Genevay)
agree with the cause and manner of death.

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EXPERT MEDICAL NARRATIVE
EXTERNAL EXAMINATION

When first viewed, the body is unclad. Present in the body bag is a previously cut black t-shirt and white
underwear. No other personal effects are received with the body. The clothing is released with the body following
the autopsy.

The body is that of a normally developed male appearing consistent with the recorded age of 16 years. The body
measures 70 inches in length and weighs 321 pounds (Body Mass Index 46.05). There is good preservation in the
absence of embalming. Marked posterior, red-purple slightly blanching lividity is present. Lividity is also present on
the head, neck and upper chest. Rigor mortis is fully developed, and the body is cold to the touch due to prior
refrigeration. The head hair is brown and up to % inch in length. The face has brown stubble in the distribution of a
beard and moustache. The ears are unremarkable with no piercings. The eyes are closed with clear corneas and
brown irides. Arcus senilis is not present. The sclerae and conjunctivae are congested and without petechiae.
There are no petechiae of the bulbar or palpebral surfaces of the conjunctivae. The mouth has natural dentition in
good condition. The upper and lower frenulum are intact with no lacerations, abrasions or contusions. There is
acanthosis of the neck with several small acrochordons on the right. The chest is symmetrical, and the abdomen is
slightly protuberant. The extremities are equally and symmetrically developed. The hands are cyanotic, and the
fingernails and toenails are natural and short. The external genitalia are those of a circumcised male. The back and
buttocks are unremarkable aside from the previously described lividity.

Identifying Marks and Scars: There is a ¥% x %4 inch hyperpigmented nevus on the left lateral neck and a % inch
hyperpigmented nevus on the ventral (plantar) left foot. There is a 3 x 1 % inch brown patch on the anteromedia!
right thigh.

Evidence of Treatment: An endotracheal tube is secured in place and later found to be properly placed ending
above the carina. An intraosseous line is present within the left shoulder. There are fifteen electrocardiogram pads
and two defibrillator pads on the chest, abdomen and upper extremities. There is a 2 1% x 1-inch abrasion on the
mid chest due to cardiopulmonary resuscitative efforts.

Evidence of Injury: (Injuries are described according to the standard anatomic position. These injuries, having
been described here, will not be repeated.)
|. Head/neck

A. %x 1/16-inch abrasion - right temporal scalp.

B. %x 1/8-inch abrasion - right nare.

C. Minute abrasions - lateral aspect of the lower lip.

D. Layered dissection of the anterior neck reveals a 3.0 x 1.5 x 2 cm area of hemorrhage within the
distal aspect of the left sternocleidomastoid muscle at the attachment to the left clavicle and a 2.0 x
0.5 cm area of hemorrhage within the posterior aspect of the anterior left strap muscle (sternohyoid).

E. Removal of the cervical segment of the spinal cord via the anterior approach reveals no epidural or
subdural hemorrhages. The spinal cord is fixed in formalin for examination by a Neuropathologist.

Il, Trunk

A. 3/8 x 1/8-inch abrasion on the right shoulder.

B. Small areas of erythema on the right upper back and right lower back.

C. There is hemorrhage within the posterior wall of the proximal esophagus and surrounding the left
greater horn of the hyoid bone (most likely due to intubation attempts).

D. Removal of the bilateral testes reveals no hemorrhage or other injuries.

E, Removal of the thoracic and lumbar segments of the spinal cord via the anterior approach reveals no
epidural or subdural hemorrhages. The spinal cord is fixed in formalin for examination by a
Neuropathologist.

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Patient: PIR, Ell ‘ . Case: Vd

lll. Extremities
A. Upper extremities
1. 10 x 7-inch area of faint red/brown contusions up to 2 1% x 2 ’% inches - lateral upper right arm.
2. 1x % inch abrasion - right elbow.
3. 1x % inch abrasion - medial left elbow.
4. 1 %x “inch abrasion - posterolateral left wrist.
5. % x 1/8-inch abrasion - dorsal right hand.
. 3 %x % inch nearly circumferential abrasion (8 % inches) - right wrist.
B. Lower extremities.
1. 3x 1% inch contusion - anteromedial right knee.
2. Two abrasions (14 x % inches and % x % inches) - right knee.
3. 2x Yinch abrasion - anterior right ankle.
4. Vex Ys inch abrasion - dorsal right and left foot.
5. 1 %x 1 inches and 3 x 1 % inches brown contusions - anterior right thigh.

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Note: Longitudinal dissection of the skin and soft tissue of the torso, and bilateral upper and lower extremities
reveals subcutaneous soft tissue hemorrhages measuring 1.5 x 1.5 cm over the medial right clavicle, 1.5 x 1
cm on the left mid back, 2 x 1.5 cm on the anterolateral left wrist and 3 x 1 cm within the left and right wrist.

INTERNAL EXAMINATION

Body Cavities: The thoracic and abdominal organs are in their normal anatomic positions. There are no adhesions
or abnormal fluid collections in the left pleural, pericardial, or peritoneal cavities.

Central Nervous System: The brain is 1480 grams. The scalp and subscalpular area are unremarkable. The skull
is unremarkable; specifically, there are no fractures evident externally or upon examination of the skull following
removal of the brain. There are no epidural, subdural, or subarachnoid hemorrhages. The dura and dural venous
sinuses are unremarkable. The leptomeninges are clear, thin and delicate. Examination of the base of the brain
reveals mild atherosclerosis in the vessels of the Circle of Willis. No abnormalities are noted. The cerebral
hemispheres are symmetrical with slight flattening of the gyri and narrowing of the sulci. Tonsillar grooving is
present. Sectioning through the cerebrum, brainstem, and cerebellum reveals no focal lesions; specifically, there
are no contusions, intraparenchymal, or intraventricular hemorrhages evident.

Neck: See previous description under “Evidence of Injury”. The hyoid bone and thyroid cartilage of the larynx
are intact. The prevertebral fascia is unremarkable, and the cervical spine is palpably intact.

Cardiovascular System: The heart is 490 grams. The aorta and its major branches and the great veins are
normally distributed with focal mild aortic atherosclerosis. The pericardium, epicardium, and endocardium are
smooth, glistening and unremarkable. Sectioning the coronary arteries reveals widely patent vessels. Sectioning
the myocardium reveals no acute hemorrhage or remote scars. There are no thrombi in the atria or ventricles. The
atria and ventricles are not dilated. The atrial and ventricular septa are intact. The left ventricle averages 1.5 cm in
thickness and the right ventricle averages 0.4 cm in thickness.

Respiratory System: The right lung is 900 grams, and the left is 790 grams. The upper airway is unobstructed. The
laryngeal mucosa is smooth, glistening and unremarkable. The pleural surfaces are smooth and shiny. The main
pulmonary arteries are without thromboemboli. Sectioning of the lungs reveals extensive pulmonary congestion and
edema.

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Patient: PI, Ell ‘ Case! 03230

Hepatobiliary System: The liver is 1830 grams. The liver is covered by a smooth, glistening, Intact capsule. The
parenchyma is dark red-brown and congested with no focal lesions evident. The gallbladder is present with < 5 ml
yellow/green bile and no calculi.

Gastrointestinal System: See previous description under “Evidence of Injury”. Sectioning the tongue reveals
a focal area of hemorrhage on the posterior aspect of the distal tongue. The esophageal mucosa is tan-white and
unremarkable. The gastroesophageal junction is unremarkable. The stomach has approximately 500 ml
yellow/white partially digested food material including identifiable rice and white chunks of food. No tablets or
capsules are noted. The gastric mucosa is tan, flattened and exhibits focal discoloration due to early decomposition.
No bleeding sites are evident; specifically, there are no gastric/peptic ulcers. The small and large intestines are
unremarkable externally. The appendix is present.

Genitourinary System: The right kidney is 160 grams and the left kidney is 170 grams. The renal capsules strip
with ease. The subcapsular surfaces of the kidneys are smooth. The cortices are of normal thickness. The calyces,
pelves, and ureters are unremarkable with no dilatation. The urinary bladder contains no urine. The urinary bladder
mucosa is tan-white and unremarkable. The prostate is unremarkable for age externally and upon sectioning.

Endocrine System: The thyroid gland is unremarkable externally and upon sectioning. There is no hemorrhage or
necrosis noted. The adrenal glands are unremarkable externally and upon sectioning there is no hemorrhage. The
pancreas is tan and without hemorrhage, necrosis or fibrosis.

Reticuloendothelial System: The spleen is 360 grams. The spleen is covered by a smooth blue-gray intact
capsule. The parenchyma is dark red and unremarkable with identifiable white pulp, There are no focal lesions. The
thymus is 100 grams and upon sectioning has a diffuse tan parenchyma with no hemorrhage or unusual features,
No enlarged lymph nodes are identified.

Musculoskeletal System: The clavicles, ribs, sternum, pelvis and vertebral column are intact with no obvious
fractures. The diaphragm is intact.

MICROSCOPIC EXAMINATION.

Respiratory System (slides A-B, F-H): Sections of the lungs reveal focal pulmonary edema and extensive intra-
alveolar hemorrhage.

Hepatobiliary System (slide C): A section of the liver reveals autolysis and focal steatosis (<10%). There is no
hemorrhage, necrosis or fibrosis. There are no acute inflammatory cell infiltrates.

Reticuloendothelial System (slide A): A section of spleen reveals a paucity of white pulp. There are no significant
histopathological abnormalities.

Endocrine System (slide D): A section of pancreas reveals diffuse autolysis. There are no acute or chronic
inflammatory cell infiltrates and no significant histopathological abnormalities. Sections of the adrenal glands reveal
focal autolysis and no significant histopathological abnormalities. A section of the thyroid gland reveals varying sizec
colloid-filled follicles with no hemorrhage, necrosis or fibrosis.

Genitourinary System (slide C): Sections of the kidneys reveal focal medullary congestion. There are no acute or
chronic inflammatory cell infiltrates, no necrosis and no fibrosis.

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ANCILLARY STUDIES

Postmortem vitreous electrolytes:
Sodium 138 mmol/L (Normal: 135 - 150 mmol/L)
Chloride 130 mmol/L (Normal: 105 - 135 mmol/L)
Potassium > 20 mmol/L (Normal: < 15 mmol/L)

Postmortem Urea Nitrogen 32 mg/dL.

Postmortem Creatinine 1.3 mg/dL.

Postmortem tryptase 11.5 ng/mL.

Postmortem IgE 98.3 kU/L (reference value <537).

Postmortem vitreous ketones negative.

SPECIMENS DRAWN FOR TOXICOLOGY
BLOOD X_ URINE X VITREOUS_X_OTHER: Kidney, Liver. Brain

NOTE: Toxicology specimens and tissues are retained for 1 year only (from the date of autopsy).
DISPOSITION OF EVIDENCE

FTA card collected and retained by the Jefferson Parish Forensic Center Laboratory.

Electronically Signed by Dana Troxclair, M.D. on 06/22/2020 at 13:13

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